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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON

UNITED STATES OF AMERICA

v.                                             CRIMINAL NO. 2:93-00196-02

JEROME MAURICE THOMAS

                MEMORANDUM OPINION AND JUDGMENT ORDER

     The court is proceeding on its own motion, pursuant to 18

U.S.C. § 3582(c)(2), to determine defendant’s eligibility for a

sentence reduction based on changes in the applicable sentencing

guideline.    On November 1, 2007, the United States Sentencing

Guidelines were amended to reduce by two levels the guidelines in

Section 2D1.1 for cocaine base (also known as crack).

Subsequently, the Sentencing Commission amended Section 1B1.10 to

make the crack amendment retroactive, effective March 3, 2008.

     On November 1, 2010, pursuant to the Fair Sentencing Act of

2010, the United States Sentencing Guidelines were amended,

resulting in reductions in the guidelines in Section 2D1.1 for

cocaine base.    These temporary, emergency amendments to the

Guidelines took effect on November 1, 2010.           Permanent amendments

implementing the Act were promulgated on April 6, 2011, with an

effective date of November 1, 2011.         Subsequently, the Sentencing

Commission voted to give retroactive effect to the permanent

amendments.

     The Court has received and considered the original

Presentence Investigation Report (PSI), original Judgment and
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Commitment Order, addenda to the PSI received from the Probation

Office, and materials submitted by the parties on this issue.1

The Court has also considered the applicable factors under 18

U.S.C. § 3553(a), consistent with § 3582(c)(2), and public

safety.

     At defendant’s original sentencing hearing, his Total

Offense Level was determined to be a 44.2             With a Criminal

History Category of IV, his guideline imprisonment range was life

and the court sentenced him to life imprisonment.              As a result of

the 2007 amendments, defendant’s Total Offense Level became a 42.

The 2011 amendments resulted in a further two-level reduction in

defendant’s Base Offense Level resulting in a new Total Offense

Level of 40.    Defendant’s revised guideline range as a result of

the amendments became 360 months to life and, accordingly, his

guideline range has subsequently been lowered.3




     1
       Defendant’s motion for an extension of time to file a
memorandum addressing defendant’s eligibility for a sentence
reduction (Doc. No. 332) is GRANTED.
     2
       The sentencing judge in this matter was the Honorable
Charles H. Haden, II. The matter was reassigned to the
undersigned as a result of Judge Haden’s death.
     3
      A Total Offense Level of 42 and a Criminal History
Category of IV also yield a guideline imprisonment range of 360
months to life. Therefore, defendant’s guideline range did not
change as a result of the 2011 amendments because it was already
360 months to life as a result of the 2007 amendment.

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     The United States has indicated that it does not object to a

reduction in defendant’s sentence that is within the revised

guideline range.

     On April 12, 1994, a federal grand jury returned an

indictment charging defendant in three counts of a four-count

superseding indictment.      Count One charged defendant with

conspiracy to distribute cocaine base and heroin, in violation of

21 U.S.C. § 846.      Count Two charged him with possession with

intent to distribute cocaine base, in violation of 21 U.S.C. §

841(a)(1), while Count Three charged him with aiding and abetting

with intent to distribute a quantity of heroin, in violation of

21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.              On June 23, 1994, a

jury found defendant guilty on Counts One, Two, and Three of the

superseding indictment.

     As noted above, at his original sentencing, defendant’s

guideline range was calculated to be life and he was sentenced to

life imprisonment.     At sentencing, the court determined that a

death resulted from the offenses of conviction but declined to

depart upward from the guideline range.

     As part of the offense conduct in this case, on November 21,

1990, law enforcement approached a vehicle driven by defendant.

A passenger in the vehicle, Thomas’ co-defendant, exited the

vehicle and fired several rounds from a handgun at law

enforcement personnel and an informant.          After an exchange of


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gunfire, defendant fled from the scene and a high-speed police

chase ensued.    Maintaining speeds in excess of 80 miles per hour

during the chase, the car driven by defendant veered off the road

and struck a 19-year-old bicyclist, David Sergent.             Defendant

continued to flee from police, even after hitting Sergent.

Eventually defendant was apprehended when the car he was driving

crashed during the chase.      Sergent died that same day as a result

of being hit by the car driven by defendant.

     Defendant has had multiple disciplinary problems while

incarcerated.    He has been sanctioned for possessing a dangerous

weapon on two occasions, engaging in a group demonstration,

refusing to obey orders on two occasions, assaulting without

serious injury, fighting with another person on two occasions,

and telephone abuse.      To his credit, he has obtained his GED

while incarcerated and completed a number of programs offered by

the BOP.

     Under 18 U.S.C. § 3582(c)(2), a defendant “sentenced to a

term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission,” may have

his term of imprisonment reduced if “after considering the

factors set forth in section 3553(a) to the extent that they are

applicable, [ ] such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission.”               Whether

to reduce a sentence and the extent of any such reduction is a


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matter of the district court’s discretion.             See United States v.

Smalls, No. 12-6201, 2013 WL 3037658, *1 (4th Cir. June 19, 2013)

(citing United States v. Legree, 205 F.3d 724, 727 (4th Cir.

2000)).

     In considering whether to reduce a sentence under § 3582, a

district court is required to consider the relevant factors

listed in 18 U.S.C. § 3553(a), which include:

     (1)   the nature and circumstances of the offense and the
           history and characteristics of the defendant;

     (2)   the need for the sentence imposed-

           (A)   to reflect the seriousness of the offense, to
                 promote respect for the law, and to provide just
                 punishment for the offense;

           (B)   to afford adequate deterrence to criminal conduct;

           (C)   to protect the public from further crimes of the
                 defendant; and

           (D)   to provide the defendant with needed educational
                 or vocational training, medical care, or other
                 correctional treatment in the most effective
                 manner;

     (3)   the kinds of sentences available;

     (4)   the kinds of sentence and the sentencing range
           established for-

           (A)   the applicable category of offense committed by
                 the applicable category of defendant as set forth
                 in the guidelines-

                 (i)    issued by the Sentencing Commission pursuant
                        to section 994(a)(1) of title 28, United
                        States Code, subject to any amendments made
                        to such guidelines by act of Congress
                        (regardless of whether such amendments have
                        yet to be incorporated by the Sentencing

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                       Commission into amendments issued under
                       section 994(p) of title 28); and

                 (ii) that, except as provided in section 3742(g),
                      are in effect on the date the defendant is
                      sentenced; or

           (B)   in the case of a violation of probation or
                 supervised release, the applicable guidelines or
                 policy statements issued by the Sentencing
                 Commission pursuant to section 994(a)(3) of title
                 28, United States Code, taking into account any
                 amendments made to such guidelines or policy
                 statements by act of Congress (regardless of
                 whether such amendments have yet to be
                 incorporated by the Sentencing Commission into
                 amendments issued under section 994(p) of title
                 28);

     (5)   any pertinent policy statement-

           (A)   issued by the Sentencing Commission pursuant to
                 section 994(a)(2) of title 28, United States Code,
                 subject to any amendments made to such policy
                 statement by act of Congress (regardless of
                 whether such amendments have yet to be
                 incorporated by the Sentencing Commission into
                 amendments issued under section 994(p) of title
                 28); and

           (B)   that, except as provided in section 3742(g), is in
                 effect on the date the defendant is sentenced.

     (6)   the need to avoid unwarranted sentence disparities
           among defendants with similar records who have been
           found guilty of similar conduct; and

     (7)   the need to provide restitution to any victims of the
           offense.

18 U.S.C. § 3553(a).      According to Application Note 1(B) of the

guidelines, a court should also consider “the nature and

seriousness of the danger to any person or the community that may

be posed by a reduction in the defendant's term of imprisonment.


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. . .”    U.S.S.G. § 1B1.10 n. 1(B).        The guidelines also allow the

court to “consider post-sentencing conduct of the defendant that

occurred after imposition of the original term of imprisonment in

determining: (I) whether a reduction in the defendant’s term of

imprisonment is warranted; and (II) the extent of such reduction.

. . . ”   Id.

     Whether to reduce a sentence is within the discretion of the

district court.       United States v. Stewart, 595 F.3d 197, 200 (4th

Cir. 2010).     “The court is not required to reduce a defendant’s

sentence, even where the current sentence is above the amended

guidelines range.”      Id.

     Consistent with 18 U.S.C. § 3582(c)(2), the Court has

considered the factors set forth in 18 U.S.C. § 3553(a), as well

as the defendant's post-sentencing conduct and public safety, and

has determined that the motion for a sentence reduction should be

DENIED.    Public safety considerations, as well as the nature and

circumstances of the offense of conviction, weigh against a

reduction in sentence in this case.          As described in the PSI,

defendant has a significant criminal history.             Furthermore, the

events surrounding the arrest of defendant and his co-defendant

show a reckless disregard for the safety of others.               As noted

above, Thomas was driving a car when, to avoid arrest, his co-

defendant exited the car and fired several rounds from a handgun

at law enforcement.       Thereafter, defendant fled police and, in


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the course of his flight, struck and killed an innocent

bystander.    Defendant did not stop the car after hitting the

bystander and, instead, continued to lead the police on a high-

speed chase.    Eventually, the vehicle defendant was driving

caught fire and crashed.      The nature and circumstances of

defendant’s conduct show that he is a danger to the public.

     Defendant’s post-sentencing conduct has done nothing to

change the court’s conclusion in this regard.            Indeed, his prison

record weighs against a sentence reduction on public safety

grounds.   Defendant has been disciplined twelve times while

incarcerated and a number of those incidents speak directly to

issues of public safety, including the incidents of possession of

a dangerous weapon, assault, and fighting.            Defendant’s post-

sentencing conduct demonstrates that he still lacks respect for

the law, remains a danger to the public, and his continued

incarceration is necessary to protect the public from further

crimes of the defendant.

     As a final matter, the court notes that this is not a case

where defendant’s sentence is above the amended guidelines range.

Rather, his sentence is at the top of the amended guideline

range.   Although he argues that he is entitled to have his

sentence reduced to the bottom of the amended guideline range,

i.e., 360 months, the nature and circumstances of the offense, as

well as the history and characteristics of defendant, do not lead


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this court to conclude that he would have been entitled to a

sentence of 360 months at his original sentencing.                This was not

your run-of-the-mill drug case where defendant was merely

responsible for a large amount of drugs.              Rather, incident to his

arrest, defendant was responsible for the death of an innocent

bystander.    The court cannot conclude that a sentence at the

bottom of the guidelines is warranted.

     For all of the reasons expressed above, the motion for a

sentence reduction is DENIED.

     The Clerk is DIRECTED to send a copy of this Memorandum

Opinion and Judgment Order to defendant, counsel of record, the

United States Marshal for the Southern District of West Virginia,

and to the United States Probation Office for forwarding to the

Sentencing Commission and Bureau of Prisons.

     It is SO ORDERED this 1st day of July, 2013.

                                           ENTER:


                                           David A. Faber
                                           Senior United States District Judge




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